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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________
 In the Matter of L.C.                 )
                                       )
 SEBASTIAN CORREA MORALES              )                       Case No. 1:24-cv-07951
                                       )
                       Petitioner,     )                       INTERIM CONSENT ORDER
                                       )
 vs.                                   )
                                       )
 JULIANA ESCOBAR RESTREPO,             )
                                       )
                       Respondent.     )
 _____________________________________ )


        Before the Court is the Verified Petition for Return of the Child to Colombia (the

 “Petition”) filed by the Petitioner, Sebastian Correa Morales (the “Petitioner”), against the

 Respondent, Juliana Escobar Restrepo (the “Respondent”) pursuant to The Hague Convention on

 the Civil Aspects of International Child Abduction and the International Child Abduction

 Remedies Act (“ICARA”) [ECF No. 1]. This Interim Consent Order makes no determination on

 the merits of the Petition, or on either party’s respective claims and/or defenses, and is entered

 without prejudice to either party’s position. Upon the consent of both parties, as evidenced by the

 signatures of their respective counsel below, it is hereby:

        1.      ORDERED, that the Petitioner shall have custodial access to the child, L.C. (the

                “Child”), from January 18, 2025, to January 28, 2025 (the “Custodial Access

                Period”); and it is further

        2.      ORDERED, that Petitioner shall pick up the Child at a mutually agreeable location

                on Saturday, January 18, 2025; and it is further
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      3.    ORDERED, that Petitioner shall drop off the Child at a mutually agreeable location

            on Tuesday, January 28, 2025; and it is further

      4.    ORDERED, that the Child will remain with the Petitioner for the duration of the

            Custodial Access Period; and it is further

      5.    ORDERED, that Petitioner is prohibited from removing the Child, or causing the

            Child to be removed from the Southern and Eastern Districts of New York for the

            duration of the Custodial Access Period; and it is further

      6.    ORDERED, that the Petitioner shall not apply for a U.S. or Colombian passport

            for the Child during the Custodial Access Period; and it is further

      7.    ORDERED, that the Petitioner shall provide the Respondent with the addresses of

            all locations where the Child will be during the Custodial Access Period; and it is

            further

      8.    ORDERED, that the Petitioner shall take the Child to and from the Child’s school

            on all school days or advise Respondent and obtain her consent beforehand if the

            Child is to miss school for any reason; and it is further

      9.    ORDERED, that the Respondent shall have a brief, in-person check-in with the

            Child every other day; and it is further

      10.   ORDERED, that, starting on the date of this filing, Petitioner is to have daily video

            calls with the Child from 7:00pm to 8:00pm Monday through Friday, and additional

            morning calls from 10:00am to 11:00am on Saturday and Sundays. The daily video

            calls will be conducted on WhatsApp going forward.
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       DATED at __: __ this __ day of January, 2025.


                                             BY THE COURT:


                                             _____________________________________
                                             Hon. Natasha C. Merle
                                             United States District Judge



 SEEN AND APPROVED AS TO FORM AND CONTENT:


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